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                                   6                                  UNITED STATES DISTRICT COURT

                                   7                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   9    TODD ASHKER, ET AL.,                               Case No. 09-cv-05796-CW (MEJ)
                                  10                   Plaintiffs,                         ORDER RE: MOTION FOR
                                                                                           RECONSIDERATION
                                  11            v.
                                                                                           Re: Dkt. No. 1045
                                  12    GOVERNOR OF THE STATE OF
Northern District of California
 United States District Court




                                        CALIFORNIA, et al.,
                                  13
                                                       Defendants.
                                  14

                                  15
                                                                               INTRODUCTION
                                  16
                                              This class action litigation arises from the policies and practices promulgated by the
                                  17
                                       California Department of Corrections and Rehabilitation (“CDCR”) relating to gang validation
                                  18
                                       and management and use of segregated housing. On June 25, 2018, the Court issued an Order
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                                       with respect to Plaintiffs’ motion for attorneys’ fees and costs incurred in enforcement and
                                  20
                                       monitoring of the Settlement Agreement from September 2, 2015 through October 15, 2016. ECF
                                  21
                                       No. 1023 (“Fee Order”). The Court subsequently granted Plaintiffs’ motion for leave to file a
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                                       motion for reconsideration of the Fee Order. ECF No. 1042. Plaintiffs now move for
                                  23
                                       reconsideration. ECF No. 1045. Defendants filed an Opposition (ECF No. 1057) and Plaintiffs
                                  24
                                       filed a Reply (ECF No. 1059). The Court finds this matter suitable for disposition without oral
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                                       argument and therefore VACATES the August 23, 2018 hearing. Fed. R. Civ. P. 78(b); Civ. L.R.
                                  26
                                       7-1(b). Having reviewed the parties’ positions and relevant legal authority, the Court issues the
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                                       following order.
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                                   1                                           BACKGROUND

                                   2          Plaintiffs are ten inmates who live or lived in solitary confinement at Pelican Bay State

                                   3   Prison, a maximum security prison in Crescent City, California. On December 9, 2009, Mr.

                                   4   Ashker and Mr. Troxell, then pro se, initiated this lawsuit challenging CDCR’s policies related to

                                   5   and the conditions of their confinement in Pelican Bay’s Secure Housing Unit (“SHU”). Compl.,

                                   6   ECF No. 1. On September 10, 2012 and with the assistance of counsel, they filed a Second

                                   7   Amended Complaint which added class allegations and named eight additional Plaintiffs. Sec.

                                   8   Am. Compl., ECF No. 136. The Second Amended Complaint asserted claims under the Eighth

                                   9   and Fourteenth Amendments. Id. ¶¶ 177-202.

                                  10          On June 2, 2014, Judge Wilken, the presiding judge in this case, certified a Due Process

                                  11   Class pursuant to Federal Rules of Civil Procedure 23(b)(1) and (b)(2), defined as “all inmates

                                  12   who are assigned to an indeterminate term at the Pelican Bay SHU on the basis of gang validation,
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                                  13   under the policies and procedures in place as of September 10, 2012.” ECF No. 317 at 21. Judge

                                  14   Wilken also certified an Eighth Amendment Class under Rules 23(b)(1) and (b)(2), comprised of

                                  15   “all inmates who are now, or will be in the future, assigned to the Pelican Bay SHU for a period of

                                  16   more than ten continuous years.” Id.

                                  17          After conducting discovery and engaging in negotiations before Magistrate Judge Nandor

                                  18   J. Vadas, the parties negotiated a settlement agreement. See Mot. for Prelim. Approval, ECF No.

                                  19   424. Among other things, the Settlement sets forth new criteria CDCR would use to place inmates

                                  20   into SHU, Administrative Segregation, or Step Down Program; provides for modifications to the

                                  21   Step Down Program; requires CDCR to review the cases of certain inmates currently in the SHU;

                                  22   provides for the transfer of certain inmates to the Restrictive Custody General Population Housing

                                  23   Unit; sets forth conditions under which an inmate may be retained in the SHU and placed on

                                  24   Administrative SHU status; and places limitations on the number of years an inmate could be

                                  25   housed at Pelican Bay’s SHU. Settlement ¶¶ 13-33.

                                  26          CDCR agrees to provide Plaintiffs’ counsel with data and documentation over a two-year

                                  27   period, to allow counsel to monitor Defendants’ compliance with the terms of the Settlement. Id.

                                  28   ¶ 37. Plaintiffs may seek an extension of this period by presenting evidence of current and
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                                   1   ongoing constitutional violations. Id. ¶ 41. The Settlement also establishes mechanisms to ensure

                                   2   compliance with the Agreement. Id. ¶¶ 48-53.

                                   3           The Settlement provides that

                                   4                  Defendants agree to pay Plaintiffs’ counsel attorneys’ fees and costs
                                                      for work reasonably performed on this case, including monitoring
                                   5                  CDCR’s compliance with this Agreement and enforcing this
                                                      Agreement, and for work to recover fees and costs, at the hourly rate
                                   6                  set forth under the Prison Litigation Reform Act, 42 U.S.C. §
                                                      1997e(d). [ ] Subject to the provisions under 42 U.S.C. §§ 1988 and
                                   7                  1997e, Plaintiffs’ motion may request an award that includes their
                                                      expert fees. On a quarterly basis, Plaintiffs may file motions for
                                   8                  reasonable attorneys’ fees accrued in monitoring and enforcing
                                                      CDCR’s compliance with this Agreement.
                                   9

                                  10   Id. ¶ 55.

                                  11           Judge Wilken approved the Settlement on January 26, 2016. ECF No. 488.

                                  12           Plaintiffs moved, unopposed, for $4,550,000 in attorneys’ fees and costs incurred from the
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                                  13   case’s inception through September 1, 2015. ECF No. 549. Judge Wilken denied that motion

                                  14   without prejudice to Plaintiffs’ refiling the motion with documents to support their request. ECF

                                  15   No. 555. On July 1, 2016, Judge Wilken awarded Plaintiffs attorneys’ fees and costs in the

                                  16   amount of $4,550,000. ECF No. 579.

                                  17           On May 3, 2017, Plaintiffs filed a Motion for Attorneys’ Fees and Costs for Monitoring

                                  18   and Enforcement of Settlement agreement, seeking compensation in the amount of $2,881,530.56

                                  19   for work performed from September 2, 2015 through October 15, 2016. ECF No. 690. On June

                                  20   25, 2018, the Court awarded Plaintiffs $1,032,419.52 in attorneys’ fees and $41,219.78 in costs.

                                  21   ECF No. 1023.

                                  22                                          LEGAL STANDARD

                                  23           “[A] motion for reconsideration is an ‘extraordinary remedy, to be used sparingly in the

                                  24   interests of finality and conservation of judicial resources.’” Circle Click Media LLC v. Regus

                                  25   Mgmt. Grp. LLC, 2015 WL 8477293, at *2 (N.D. Cal. Dec. 10, 2015) (quoting Kona Enters. v.

                                  26   Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000)). “Thus, ‘a motion for reconsideration should

                                  27   not be granted, absent highly unusual circumstances, unless the district court is presented with

                                  28   newly discovered evidence, committed clear error, or if there is an intervening change in the
                                                                                        3
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                                   1   controlling law.’” Id. (quoting 389 Orange St. Partners v. Arnold, 179 F.3d 656, 665 (9th Cir.

                                   2   1999)); see also Civ. L.R. 7-9(c) (The moving party may not reargue any written or oral argument

                                   3   previously asserted to the Court.).

                                   4                                              DISCUSSION

                                   5          Plaintiffs seek reconsideration on the grounds that the Court: (1) should correct a

                                   6   mathematical error in the calculation of the fee award; (2) failed to consider material evidence in

                                   7   the record resulting in the unjust denial of monitoring fees preparation time; (3) failed to consider

                                   8   material evidence in the record in the calculation of a reduction for client communication; (4)

                                   9   failed to consider material evidence in the record regarding time spent meeting and conferring

                                  10   with Defendants; and (5) failed to account for material evidence in the record attesting that all

                                  11   travel time is related to the case and should be compensable.

                                  12   A.     Mathematical Error
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                                  13          First, Plaintiffs argue the Fee Order contains an inconsistency between the Court’s decision

                                  14   to grant compensation for 50% of Plaintiffs’ work on de novo enforcement motions and the entry

                                  15   of no hours for this aspect of work in the Court’s calculation of total compensable hours. Mot. at

                                  16   1. Plaintiffs’ claimed 152.8 hours for work on two de novo motions, but the Court reduced the

                                  17   hours by 50%. Fee Order at 21:3, 23:8. However, the Court’s summary chart, from which the

                                  18   total award is calculated, reflects “0” compensable hours for this work. Id. at 34:23. Defendants

                                  19   “agree that the Court may amend its order to correct a typographical error and add $16,502.40 to

                                  20   Plaintiffs’ fee award.” Opp’n at 2.

                                  21          The Court agrees that this is a mathematical error and 76.4 hours for de novo motion work

                                  22   should be included in the total compensable time. See, e.g., Bowerman v. Field Asset Servs., Inc.,

                                  23   2018 WL 2952664, at *2 (N.D. Cal. June 13, 2018) (reconsideration granted under Civil Local

                                  24   Rule 7-9(b)(3) to correct court’s miscalculation of unpaid overtime award). Accordingly, the

                                  25   Court GRANTS reconsideration of the fee award total and awards an additional $16,502.40 for

                                  26   76.4 hours of work on de novo motions.

                                  27   B.     Material Evidence

                                  28          Plaintiffs remaining arguments are that the Court failed to consider material evidence in
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                                   1   the record. In its previous Order, the Court noted Plaintiffs “had two opportunities to sufficiently

                                   2   support their fee request, once when they filed their Motion and another when they responded to

                                   3   the Court’s March 29, 2018 Order” for supplemental briefing. Fees Order at 34. Because

                                   4   Plaintiffs “largely failed to do so and thus d[id] not meet their burden of showing all of their

                                   5   claimed hours are reasonable, the Court deducted a portion of their requested fees. Id. In their

                                   6   motion for reconsideration, Plaintiffs seek to re-litigate their entitlement to fees for a third time.

                                   7   However, any reconsideration of the Court’s order requires Plaintiffs to show either clear error or

                                   8   manifest injustice. See Abada v. Charles Schwab & Co., Inc., 127 F. Supp. 2d 1101, 1102 (S.D.

                                   9   Cal. 2001) (citing Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 817 (1988));

                                  10   Sullivan v. SII Investments, Inc., 2018 WL 1367340, at *2 (N.D. Cal. Mar. 16, 2018). Neither is

                                  11   present here.

                                  12          1.         Monitoring Fees
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                                  13          Plaintiffs sought to recover 159.1 attorney hours and 12.6 paralegal/legal worker hours on

                                  14   “monitoring fees preparation,” which consisted of “work to prepare and negotiate fees for each of

                                  15   the four periods in the present fee request, including mediation with Judge Vadas.” Pls.’ Suppl.

                                  16   Br. at 4-5, ECF 995; Suppl. Miller Decl., Ex. 2 at ECF 995-1 at 24. Plaintiffs described this work

                                  17   to include “work to prepare and negotiate fees for each of the four periods in the present fee

                                  18   request, including mediation with Judge Vadas.” Pls.’ Suppl. Br. at 4. Reviewing the record, the

                                  19   Court found Plaintiffs failed “to identify the time spent in settlement conferences or in preparation

                                  20   thereof and do not identify how many settlement conferences they attended.” Fee Order at 31.

                                  21   Plaintiffs also failed to “clearly identify what other work went into ‘monitoring fees preparation.’”

                                  22   Id. Thus, the Court disallowed all 171.7 hours, based on concerns that (1) judicial settlement

                                  23   conferences concerning fees may have been double-billed, and (2) the work had not been clearly

                                  24   identified. Id.

                                  25          Plaintiffs contend the Court improperly rejected these hours on the ground that judicial

                                  26   settlement conferences concerning fees may have been double billed. Mot. at 2. They argue the

                                  27   Court erred because the parties did not participate in any settlement conferences regarding fees

                                  28   during the time period at issue. Id. However, Plaintiffs described their work under “monitoring
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                                   1   fees preparation” to include “work to prepare and negotiate fees for each of the four periods in the

                                   2   present fee request, including mediation with Judge Vadas.” Pls.’ Supp. Br. at 4. And,

                                   3   notwithstanding multiple opportunities to do so, Plaintiffs failed “to identify the time spent in

                                   4   settlement conferences or in preparation thereof.” Fee Order at 31. Plaintiffs bear the burden of

                                   5   demonstrating their entitlement to fees, and here they failed to do so.

                                   6          Plaintiffs also take issue with the Court’s conclusion that Plaintiffs failed to “clearly

                                   7   identify what other work when into ‘monitoring fees preparation.’” Mot. at 2. Plaintiffs describe

                                   8   how counsel prepared “detailed demand letters” and proposed “entering into a stipulation

                                   9   establishing a process for the parties to handle fee demands and disputes.” Id. But the Court

                                  10   rejected these arguments because Plaintiffs failed to describe in sufficient detail what work they

                                  11   did to justify 159.1 hours of attorney time and 12.6 hours of paralegal time. Fee Order at 30-31;

                                  12   see, e.g., Suppl. Miller Decl. (ECF No. 995-1), Ex. 2 (summarizing in a chart the hours attorneys
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                                  13   and paralegals spent during a year of “monitoring fees preparation,” but providing no detail of the

                                  14   work performed).

                                  15          As Plaintiffs failed to clearly identify what work went into monitoring fees preparation,

                                  16   their motion for reconsideration on this issue is DENIED.

                                  17          2.      Client Communications

                                  18          Plaintiffs claimed 930.9 attorney hours and 56.8 paralegal/legal worker hours on client

                                  19   communications. Pls.’ Suppl. Br. at 5; Miller Suppl. Decl., Ex. 2 at ECF 9. Plaintiffs billed for

                                  20   “Telephone and written communication with prisoners and family/supporters regarding

                                  21   monitoring issues, including logistics, preparation, and follow-up, as well as communications

                                  22   among team members concerning such prisoner and family/supporter communications.” Pls.’

                                  23   Supp. Br. at 2. The Court determined that the category for client communications contains two

                                  24   types of billings – (1) communications with class members or their family and (2)

                                  25   communications amongst counsel – and granted compensation only for the former. Fee Order at

                                  26   17-18. The Court found Plaintiffs failed to provide enough detail to determine whether these

                                  27   communications were billed elsewhere or are otherwise duplicative. Id. at 18. For example,

                                  28   Plaintiffs did not “explain how ‘communications among team members concerning . . . prisoner
                                                                                         6
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                                   1   and family/supporter communications’ differs from their time spent on team discussions

                                   2   ‘regarding general monitoring and specific issues.’” Id. (quoting Pls.’ Suppl. Br. at 2). The Court

                                   3   also found it unclear “whether these communications took place during weekly team meetings –

                                   4   time for which Plaintiffs separately seek fees – or elsewhere.” Id. But even if the

                                   5   communications were separate, the Court found “Plaintiffs do not establish why these additional

                                   6   communications were necessary.” Id. As Plaintiffs failed to adequately support their request, the

                                   7   Court reduced the requested hours by 50% and awarded fees for 526.5 hours. Id. at 18.

                                   8           Plaintiffs contend the Court erred because Defendants’ expert, Gerald Knapton, analyzed

                                   9   Plaintiffs’ itemized billing records (which Plaintiffs did not provide to the Court) and stated that

                                  10   “892.6 hours were non-objectionable for ‘inmate calls, letters, and visits.’” Mot. at 4. However,

                                  11   the Court had Mr. Knapton’s analysis before it at the time of its ruling and, based on its review of

                                  12   the record as a whole, reduced Plaintiffs’ request because they block-billed and failed to
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                                  13   adequately describe the time they spent communicating with their clients and family members.

                                  14   Fee Order at 17-18.

                                  15           Plaintiff also take issue with the Court’s decision to reduce the requested hours by 50%,

                                  16   citing to the Ninth Circuit’s decision in Moreno v. City of Sacramento, 534 F.3d 1106 (9th Cir.

                                  17   2008), and calling it a “dramatic reduction,” requiring a “specific articulation” of the selection of

                                  18   the particular percentage. In Moreno, the Ninth Circuit reversed and remanded a district court’s

                                  19   decision reducing a prevailing plaintiff’s attorney request for fees by forty percent, finding the

                                  20   district court provided little or no explanation for its reduction to the plaintiff’s counsel’s fee

                                  21   application. 534 F.3d at 1111-16. The court noted that “the burden of producing a sufficiently

                                  22   cogent explanation [for reducing fees] can mostly be placed on the shoulders of the losing parties,

                                  23   who not only have the incentive, but also the knowledge of the case to point out such things as

                                  24   excessive or duplicative billing practices.” Id. at 1116. Still, it is Plaintiffs’ burden, not

                                  25   Defendants, to show the reasonableness of their work. Mendez v. Cty. of San Bernardino, 540

                                  26   F.3d 1109, 1128-29 (9th Cir. 2008) (courts may reject fee requests unsupported by adequate proof

                                  27   to show that the hours billed were reasonably expended in the case). As Plaintiffs did not do so

                                  28   here, the Court finds no error in its decision and therefore DENIES their motion as to client
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                                   1   communications.

                                   2          3.      Meet and Confer

                                   3          Plaintiffs sought 94.2 attorney hours and 1 paralegal/legal worker hour to “[m]eet and

                                   4   confer (including team communications in preparation for meet and confer) regarding issues with

                                   5   CDCR’s document production.” Pls.’ Suppl. Br. at 4-5; Suppl. Miller Decl., Ex. 2 at ECF p.29.

                                   6   Plaintiffs described this work as follows: “Meet and confer (including team communications in

                                   7   preparation for meet and confer) regarding issues with CDCR’s document production.” Pls.’

                                   8   Suppl. Br. at 4. The Court rejected this request because Plaintiffs failed to specify how many

                                   9   hours they spent in meet-and-confer sessions with Defendants, rather than time spent conversing

                                  10   among themselves. Fee Order at 33. Plaintiffs separately sought to recover time for “establishing

                                  11   framework and protocols for receiving and analyzing CDCR data and document production,

                                  12   including engagement with defendant counsel.” Pls.’ Suppl. Br. at 1 (describing work under a
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                                  13   category entitled “Data/Doc Protocols”). They also billed time for “weekly team conferences (id.

                                  14   at 1 (describing work under “Weekly Team Conferences”)) and “discussion (non-weekly

                                  15   meetings) and/or correspondence among various team members and/or sub-groups regarding

                                  16   general monitoring and specific issues, as well as substantive work related to those issues” (id. at 2

                                  17   (describing work under a category for “Team Discussion/Correspondence and General

                                  18   Monitoring”)). The Court held that “based on the Plaintiffs’ description of this work, it is not

                                  19   obvious that ‘team communications in preparation for meet and confer’ are not already subsumed

                                  20   in time spent in ‘team discussion/correspondence and general monitoring,’ which includes

                                  21   ‘[d]iscussion (non-weekly meetings) and/or correspondence among various team members and/or

                                  22   subgroups regarding general monitoring and specific issues, as well as substantive work related to

                                  23   those issues.” Fee Order at 33.

                                  24          Plaintiffs argue no double-counting occurred in the categorization process because the

                                  25   document production meet and confer time is separate and distinct from all other submissions.

                                  26   Mot. at 5. They point to Mr. Miller’s Declaration, in which he explains that three of their

                                  27   attorneys divided team members’ timesheets, reviewed each time entry, and assigned a category to

                                  28   each individual task. Miller Suppl. Decl. ¶ 5. For entries where more than one category was
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                                   1   possible, Mr. Miller states counsel assigned the category that was most pertinent and specific. Id.

                                   2   If a “single time entry covered more than one category,” counsel “split the time and apportioned

                                   3   each segment to its relevant category, ensuring that in each instance the total time was not

                                   4   changed.” Id. But the Court’s finding that Plaintiffs’ previously-asserted arguments were

                                   5   unpersuasive is not a basis for reconsideration. Moreover, Plaintiffs offered no examples of how

                                   6   they purportedly “split the time” for work that may have touched on multiple categories involving

                                   7   “communications” and “documents,” for which Plaintiffs otherwise sought compensation. For

                                   8   this reason, the Court concluded that “[o]n this record and absent more details, the Court cannot

                                   9   find Plaintiffs have sufficiently shown these hours to be recoverable.” Fee Order at 33. As

                                  10   Plaintiffs have failed to show there was an error in this finding, the Court DENIES their motion as

                                  11   to meet and confer fees.

                                  12          4.      Travel Time
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                                  13          Plaintiffs claimed 169.2 attorney hours and 13.3 paralegal/legal worker hours for time

                                  14   spent traveling to “hearings and meetings with counsel and/or Judge Vadas.” Pls.’ Suppl. Br. at 2,

                                  15   5. The Court noted that “[t]ime spent traveling to appear at a status conference, settlement

                                  16   conference, or motion hearing is compensable.” Fee Order at 20. However, it found Plaintiffs’

                                  17   records and briefs did not adequately support their request because it was “unclear whether

                                  18   ‘meetings with counsel’ includes meetings with defense counsel or Plaintiffs’ counsel,” and that

                                  19   Plaintiffs failed to “explain what those meetings concerned or how they were related to the

                                  20   Settlement.” Id. As Plaintiffs did not show the requested time was reasonable, the Court found

                                  21   time spent traveling to meet with counsel was not compensable. Id. The Court also noted that

                                  22   Plaintiffs did not distinguish how much time counsel spent traveling to meet with counsel versus

                                  23   traveling to appear before Judge Vadas. Id. As time spent traveling to meet with counsel was one

                                  24   of two tasks Plaintiffs delineated for this entry, the Court reduced the time by 50% and awarded

                                  25   fees for 84.6 attorney hours and 6.65 paralegal/legal worker hours. Id.

                                  26          Plaintiffs argue the Court’s concern that some of the travel time for meetings among

                                  27   counsel may be unrelated to this case “is based on a clear failure to consider material evidence in

                                  28   the record, which establishes that Plaintiffs’ counsel have only billed for time incurred in
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                                   1   monitoring the Ashker case.” Mot. at 6. However, the Court’s concern was that, although time

                                   2   spent traveling to appear at status conferences, settlement conferences, or motion hearings was

                                   3   compensable, Plaintiffs’ description of their work included travel time for “meetings . . . with

                                   4   counsel,” which the Court could not determine was for time spent traveling to meetings with

                                   5   defense counsel or for internal meeting with Plaintiffs’ counsel. Fee Order at 20. Plaintiffs also

                                   6   failed to clearly describe with sufficient detail what these meetings (whether with Defendants or

                                   7   among Plaintiffs’ counsel) concerned, other than to refer to declarations broadly stating that

                                   8   timekeepers only billed time to this case. See, e.g., Pls.’ Mot. Reconsideration at 6 (citing eleven

                                   9   timekeepers’ declarations). Plaintiffs failed to make a coherent record to allow the Court to

                                  10   corroborate these statements. The Court therefore finds no error in its decision to reduce

                                  11   Plaintiffs’ time by 50%.

                                  12          Accordingly, Plaintiffs’ motion is DENIED as to Plaintiffs’ travel time request.
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                                  13                                             CONCLUSION

                                  14          For the foregoing reasons, the Court GRANTS IN PART Plaintiffs’ Motion for

                                  15   Attorneys’ Fees and Costs. The Court GRANTS reconsideration of the fee award total and

                                  16   awards an additional $16,502.40 for work on de novo motions. The Court DENIES the balance of

                                  17   Plaintiffs’ reconsideration motion.

                                  18          IT IS SO ORDERED.

                                  19

                                  20   Dated: August 9, 2018

                                  21                                                    ______________________________________
                                                                                        MARIA-ELENA JAMES
                                  22                                                    United States Magistrate Judge
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